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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION

  THE TWELFTH CONGRESSIONAL                         )
  DISTRICT REPUBLICAN COMMITTEE,                    )
  et al.,                                           )
                                                    )
                       Plaintiffs,                  )
  v.                                                ) Civil Action File No.
                                                    )
                                                      EXPEDITED TREATMENT
  BRADFORD J. RAFFENSPERGER, et al,                 )
                                                      REQUESTED
                                                    )
                      Defendants.                   )
                                                    )


                   PLAINTIFFS' EMERGENCY MOTION
                 FOR TEMPORARY RESTRAINING ORDER
                    AND PRELIMINARY INJUNCTION

       Pursuant to Rule 65 of the Federal Rules of Procedure and Local Rule 7.7,

Plaintiffs, by counsel, move this Court to enter an Order granting a restraining

order and preliminary injunction against Defendants that (a) prohibits them from

implementing certain procedures and requirements concerning elections that were

established in violation of Article II, § 1, cl. 2 of the United States Constitution and

provisions of the Georgia Election Code and (b) mandating that Defendants

comply with the procedures and requirements governing elections set forth in the

Georgia Election Code.

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      Also pursuant to Rule 7.1(b) of the Local Rules of the Southern District of

Georgia, Plaintiffs filed with their original motion a memorandum in support citing

the legal authorities supporting the motion and the facts relied upon. The grounds

for this motion are:

      1.     The actions of Defendants in establishing procedures and

requirements related to the verification of absentee voters’ signatures and the

delivery of absentee ballots to drop boxes violate the plain language of O.C.G.A.

§§ 21-2-382, 21-2-385, and 21-2-386.

      2.     Defendants are continuing not to comply with the requirements of

O.C.G.A. §§ 21-2-385 and 21-2-386 concerning the use of drop boxes and the

verification of the signature of every absentee voter. They will continue their non-

compliance with the above-referenced statutory requirements unless prohibited

from that unlawful conduct by this Court.

      3.     The injuries that Plaintiffs will suffer will be irreparable unless

Defendants’ unlawful conduct is prohibited by this Court. Declaration of Buck

Moon.

      4.     Defendants will not be substantially harmed by the granting of the

requested restraining order and injunction because Plaintiffs seek nothing more

than that Defendants comply with Georgia law. Any disruption of Defendants'



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activities is what would be attributable to the adjustments necessitated to

implement applicable Georgia statutes.

      5.     The public interest would be served by the grant of the requested

injunctive relief because such relief is essential to restore the confidence of the

public in the integrity of the election process.

      6.     Plaintiffs have no adequate remedy at law.

      7.     Plaintiffs are seeking an order prohibiting and enjoining Defendants

from using the drop boxes to collect any further absentee ballots in violation of the

Georgia Election Code.

      8.     Plaintiffs are seeking an order requiring Defendants to keep the outer

ballot envelope together with the inner envelope until the polls close on January 5,

2021 and tabulation of the vote may begin.

      9.     Plaintiffs are seeking an order requiring Defendants, if they are

opening absentee ballots early, to train full time employees and temporary poll

workers to properly conduct signature verification and to permit Plaintiffs'

designated representatives to be present and have meaningful observation of the

absentee ballot verification process.

      10.    In support of this motion, Plaintiffs submit a memorandum of law

reviewing the four factors that the Court must consider in deciding whether to

grant or deny this motion.

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      WHEREFORE, Plaintiffs request that the Court schedule a hearing on this

motion and enter an Order granting their motion for preliminary injunctive relief.

                                    Respectfully submitted,

                                    THE 12TH CONGRESSIONAL DISTRICT
                                    REPUBLICAN COMMITTEE, et al.

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                        Plaintiffs' Emergency Motion for TRO
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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 9, 2020, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record. However, because no

counsel has entered an appearance in this matter, I also certify that I caused a true

and correct copy of the foregoing and all attachments in the above captioned matter

to be sent via email notification to the parties who are not yet served via email (and

FedEx on December 9) as follows:

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION

 THE TWELFTH CONGRESSIONAL         )
 DISTRICT REPUBLICAN COMMITTEE, )
 et al.,                           )
                                   )
               Plaintiffs,         )
 v.                                )                  Civil Action File No.
                                   )
 BRADFORD J. RAFFENSPERGER, et al, )
                                   )
               Defendants.         )


              MEMORANDUM IN SUPPORT OF PLAINTIFFS'
               MOTION FOR PRELIMINARY INJUNCTION

      Plaintiffs, by counsel, state the following in support of their Motion for a

Preliminary Injunction:

      In the complaint in this action, Plaintiffs assert violations by Georgia

election officials of Plaintiffs' First Amendment associational rights and their right

to equal treatment under the law guaranteed by the Equal Protection Clause of the

Fourteenth Amendment. The Plaintiffs are the 12th Congressional District

Republican Committee ("the 12th District Committee"), Brian Tucker, Cathy A.

Latham, and Edward T. Metz. The 12th District Committee sues to vindicate


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violations of its own organizational rights and those violations of its members'

rights. The Individual Plaintiffs were candidates for the office of Presidential

elector in the 2020 general election and intend to seek that office again in future

elections. They also bring this action as registered voters of the State of Georgia

who assert that Defendants have violated Individual Plaintiffs' rights to freedom

association and equal protection as a result of their rules and procedures adopted in

direct conflict with O.C.G.A. §§ 21-2-382, 21-2-385, and 21-2-386.

      Plaintiffs have no adequate remedy at law and will be harmed irreparably

unless this Court grants them the declaratory relief and the temporary, preliminary

and permanent injunctive relief they request. Defendant Raffensperger is the

Secretary of State, who chairs the Defendant State Election Board (“SEB”).

Defendants Sullivan, Worley, Mashburn and Lee are members of the SEB.

Defendants McFalls, Brown, Barnes, Dicks and Finnegan are members of the

Richmond County Board of Elections. Defendants are sued in their official

capacity as individuals and agencies responsible under the laws of the State of

Georgia for the conduct of elections.




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I.    BACKGROUND STATEMENT

      On November 23, 2020, the SEB promulgated Rules 183-1-14-0.6-.14

(“Secure Absentee Drop Boxes”) and 183-1-14-0.9-.15 (“Processing Absentee

Ballots Prior to Election Day). The Georgia Election Code provides that absentee

ballots must be delivered to county election officials by the voter personally, by an

individual specified in O.C.G.A. § 21-2-385, or by U.S. Mail. O.C.G.A. § 21-2-

386(a)(2) prohibits the opening and processing of absentee ballots before Election

Day. Defendant Raffensperger has issued an Official Election Bulletin in which he

has instructed county election officials to verify the signature of an absentee voter

against the signature on the envelope in which it was delivered or the voter’s

signature on file in the SEB’s eNet system or on the vote’s application for an

absentee ballot. O.C.G.A. § 21-2-386(a)(1)(B) provides that the signature on the

absentee ballot envelope must match the signature on the voter’s registration card

and the signature on the voter’s application for an absentee ballot.

      Absentee ballots are now being received by county election officials. To

prevent or minimize the ballot harvesting that O.C.G.A. §§ 21-2-385 and 21-2-386

were enacted to preclude, Plaintiffs seek relief in the form of these Motions to

restrain and enjoin Defendants from implementing the rules and procedures



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imposed on county election officials that are in direct conflict with the above-

referenced statutes and that violate Plaintiffs’ constitutional rights of freedom of

Association and equal protection of the laws guaranteed by the Fourteenth

Amendment to the United States Constitution.

II.    ARGUMENT

       Article II, § 1, cl. 2 of the United States Constitution confers on state

legislatures the power to appoint, as well as to establish the method of appointing,

Presidential electors. Individual Plaintiffs were Presidential elector candidates in

the 2020 general election who intend to seek that office again in the future. They

also bring this action as registered voters in the State of Georgia who assert that the

conduct of Defendant election officials has violated Georgia election laws and will

continue to violate Georgia election laws unless this Court intervenes and grants

them relief in the form of declaratory and injunctive relief.

       Plaintiffs seek a temporary restraining order and preliminary injunctive relief

to prohibit continued violations of election laws by Defendants. The District

Committee brings the action in its own organizational status, claiming direct

violations of its constitutional rights, and on behalf of its members and adherents.




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      Plaintiffs have standing to bring their action and to seek the relief requested

in the Motion for Temporary Restraining Order and the Motion for Preliminary

Injunctive Relief, as will be demonstrated in the Argument below.

      Plaintiffs have no adequate remedy at law. Declaratory and injunctive relief

are the only remedies that will prevent irreparable injury to Plaintiffs.

      The four-factor test applied to applications for injunctive relief under Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008) is discussed below. The Court of

Appeals has stated the test in these terms: "[The movant must demonstrate that] (1)

it has a substantial likelihood of success on the merits; (2) irreparable injury will be

suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing

party; and (4) if issued, the injunction would not be adverse to the public interest."

Otto v. City of Boca Raton, Florida, 2020 WL 6813994 (11th Cir. Nov. 20, 2020)

citing Siegel v. LePore, 234 F.3d 1163, 1175 (11th Cir. 2000) (en banc).

      A. LIKELIHOOD OF SUCCESS ON THE MERITS

      In First Amendment cases, the likelihood-of-success-on-the-merits factor is

usually determinative. ACLU of Illinois v. Alvarez, 679 F.3d 583,589-90 (7th Cir.

2012). Plaintiffs here enjoy an unusual position in this case because the actions of



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Defendants at issue violate the unambiguous language of several Georgia election

statutes. They are likely to succeed on the merits because the challenged actions of

Defendants are clearly illegal. Defendants Raffensperger and State Election Board

have imposed new and unauthorized procedures and requirements that are in direct

conflict with Georgia statutes, particularly O.C.G.A. § 21-2-386(a)(1)(B)

(requiring the verification of every absentee voter’s signature) and O.C.G.A. §§

21-2-382 and 21-2-385 (requirements that absentee ballots be delivered to county

election officials personally or by statutorily designated individuals). Defendants

have failed to enforce the requirements of those statutes regarding the verification

of the signatures of absentee voters, the delivery of absentee ballots, and the

monitoring of the signature verification process and vote-counting.

      The regulation of elections must be evenhanded and reasonable. See Dunn v.

Blumstein, 405 U.S. 330, 336 (1972). Defendants’ new procedures and

requirements and their failure to enforce applicable Georgia statutes will continue

during the Senate runoff elections to be held in January 2021 and other future

elections. The violations alleged in the complaint include violations of Plaintiffs’

constitutional rights guaranteed by the Fourteenth Amendment to United States

Constitution. The effect of Defendants’ actions that violate Georgia election



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statutes and Defendants’ failure to enforce Georgia election statutes have resulted

in unconstitutional burdens on Plaintiffs’ exercise of their right to vote and to

exercise their right to associate freely for political purposes and their right to equal

treatment under the laws, both of which are protected by the Fourteenth

Amendment to the United states Constitution. See Exhibit A, Declaration of Brian

Tucker.

      Plaintiffs satisfy the Anderson-Burdick test because the injuries to their First

Amendment associational rights and their equal protection rights are severe and

irreparable and because Defendants have no legitimate basis for their violations of

applicable state statutes. Burdick v. Takushi, 504 U.S. 428, 433 (1992); Anderson

v. Celebrezze, 460 U.S. 780, 788 (1983).

      The likelihood of success in challenging the legality of any one of

Defendants’ three recently adopted rules described in the complaint is sufficient for

a finding that Plaintiffs have established the requisite likelihood of success on the

merits.

      B. LIKELIHOOD OF IRREPARABLE INJURY TO PLAINTIFFS

      The loss of First Amendment freedoms constitutes irreparable injury even if

the loss is for a minimal period. Alvarez, 679 F.3d at 589. The deprivation of



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Plaintiffs’ rights to freedom of association will be substantial and not capable of

being remedied except by injunction.

      Each of the Plaintiffs has established standing to assert the constitutional

claims alleged in the complaint. The District Committee will suffer particularized

injuries, unlike its counterpart, the 12th Congressional District Democratic

Committee which will actually benefit by the challenged procedures adopted by

Defendants just days ago. See Fla. St. Conf. of NAACP v. Browning, 522

F.3d 1153, 1161-66 (11th Cir. 2008) (diversion of resources injury). The Individual

Plaintiffs were and will in the future be candidates to serve as Presidential electors.

See Roe v. State of Alabama by & through Evans, 43 F.3d 574, 579-80 (11th Cir.

1995) (candidates for office showed particularized injuries). Plaintiffs’ injury

allegations meet the three-part test reaffirmed in Jacobson v. Fla. Sec’y of State,

974 F.3d 1236, 1245 (11th Cir. 2020). Their injuries constitute injuries in fact that

are traceable to Defendants’ challenged procedural rules and likely to be remedied

by a favorable ruling in this case.

      "Absentee ballots remain the largest source of potential voter fraud." Report

of the Commission on Federal Election Reform, Building Confidence in U.S.




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Elections § 5.2 at 46 (Sept. 2005).1 Vote harvesting involving hundreds of

thousands of absentee ballots increases the risk of vote fraud. That report

acknowledged that even a small amount of fraud "could affect the outcome of a

close election." Id. § 2.5 at 18.

       Plaintiffs will suffer injury to their constitutional rights that cannot be

remedied by any relief other than preliminary and permanent injunctions

prohibiting Defendants’ violations of Georgia election statutes. Defendants’

procedures and requirements that are at odds with Georgia statutes and the likely

continuation of their failure to enforce those statutes will encourage and facilitate

vote harvesting that involves illegal acquisition of absentee ballots, collection of

absentee ballots and delivery of those ballots to drop boxes that violate O.C.G.A. §

21-2-385, and the submission of ballots of individuals who are not eligible to vote

in violation of O.C.G.A. § 21-2-386(a)(1)(B). Unless the Court enjoin the

Defendants from continuing their illegal actions, Plaintiffs will be severely harmed

by the impact if Defendants’ rules on Plaintiffs’ First Amendment associational




1
 Former President Jimmy Carter and Secretary of State James A. Baker, III, Co-chairs, Building
Confidence in U.S. Elections, COMMISSION ON FEDERAL ELECTION at p.46, available online at
https://www.legislationline.org/download/id/1472/file/3b50795b2d0374cbef5c29766256.pdf.

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rights and by the disparate treatment they will experience when compared to the

treatment accorded Democrat voters.

      C. HARM TO DEFENDANTS

      It is difficult to perceive any substantial harm that Defendants will

experience if the relief requested is granted and they are required to apply the

requirements already imposed on them by Georgia election statutes. Any

disruption of Defendants’ activities during the period of the runoff elections and

the counting of votes in those elections would be no more than Defendants are

required to tolerate in the faithful enforcement of those statutes. It may be arduous

to verify every absentee voter’s signature, but that is an unavoidable requirement

of existing law. The same is true with respect to the requirement to delay the

opening of absentee ballots until the day of the runoff elections. The elimination of

drop boxes will be somewhat disruptive, but absentee voters have the option under

O.C.G.A. § 21-2-385 to mail their absentee ballots to county election officials. If a

change in those requirements is to occur, it must be by action of the Georgia

General Assembly.

      In this case, any potential harm to Defendants would be outweighed by the

injury that Plaintiffs would suffer if the injunction is not granted.



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        D. THE PUBLIC INTEREST

        The overriding interest of the public is in the lawful conduct of elections.

The occurrence of election fraud in past elections has already undermined public

confidence in the integrity of the election process. The risk of ballot harvesting

posed by the challenged rules and procedures that Defendants Raffensperger and

the SEB have directed county election officials to implement is significant. The

separation of an absentee ballot from the envelope in which it is delivered will

effectively preclude the statutorily required determination that the ballot has been

submitted by a voter qualified to vote. The use of drop boxes facilitates in a

substantial way the collection and delivery of absentee ballots by individuals who

were specifically excluded by the General Assembly from the listing of individuals

who may perform that function.

        If disruption occurs as a result of this Court’s grant of injunctive relief, it is a

burden far outweighed by the benefit of assuring that vote fraud and other election

misconduct is eliminated or at least minimized by enjoining Defendants’

unauthorized and discriminatory actions.

III.    CONCLUSION

        The Court should grant Plaintiffs' motion for preliminary relief.



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                            Respectfully submitted,

                            12th CONGRESSIONAL DISTRICT
                            REPUBLICAN COMMITTEE, et al.

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This 9th day of December, 2020.

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